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                                                       UNITED STATES DISTRICT COURT
                                                      CENTRAL DISTRICT OF CALIFORNIA

                                                         CRIMINAL MINUTES -ARRAIGNMENT

Case Number: 5:22-CR-00235-JGB                                      Recorder: Syble Smith, ECRO                                        Date: 11/08/2022

Present: The Honorable Sheri Pym, U.S. Magistrate Judge

Court Clerk: Kimberly Carter                                                           Assistant U.S. Attorney: Peter Dahlquist

 United States of America v.                       Attorney Present for Defendants)                             Language                       Interpreter
 Trisha Denise Meyer                               Ryan Kinderman S/A for Alex Kessel
         CUSTODY                                         RETAINED




PROCEEDINGS: ARRAIGNMENT OF DEFENDANTS)AND ASSIGNMENT OF CASE AND INITIAL APPEARANCE.

Defendant is azraigned and states true name is as charged.




Defendant is given a copy of the Indictment.

Defendant acknowledges receipt of a copy and waives reading thereof.




Defendant's first appearance.
Bond is ordered in the amount of a 15,000 See attached copy of the bond.

Defendant pleads not guilty to all counts in the Indictment, The CouR enters a plea of not guilty on behalf of the defendant to all counts in the Indictment.

This case is assigned to the calendar of District Judge Jesus G. Bernal.
It is ordered that the following dates) and times) are set:
         Jury Trial 1/3/2023 at 9:00 AM
         Status Conference 12/19/2022 at 2:00 PM
         Motion Hearing 12/19/2022 at 2:00 PM
         Defendant and counsel are ordered to appear before said judge at the time and date indicated.



Counsel are referred to the assigned judge's triaUdiscovery order located on the court's website, Judges' Procedures and Schedules.

Trial estimate: 2 days.

Court issues Order under Fed. R. Crim. P. 5(~ concerning prosecutor's disclosure obligations; see General Order 21-02 (written order).




                                                                                                                        First Appearance/Appointment of Counsel: 00: 12
                                                                                                                                                             PIA: 00: OS
                                                                                                                                             Initials of Deputy Clerk: kc
cc: Statistics Clerk, PSALA USMED




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                 UNITED STATES DISTRICT COURT FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                                                                                                                                      I~
   Case Name: United States of America v.              ~~                      ~~         £           Case No. ~'~~'
                                                                                                                                                      ~(.)
                                                     Defendant       ~ Material Witness
                                                                          r     r    \
   Violation of Title and Section:

                                        Summons        ~ Out of District       ~ iTNDER SEAL      ~ Modified Date:

   Check ~o     one of thefive numbered boxes below (unless one bond is to be replaced by another):
   1.       Personal Recognizance (Signature Only)         (~~,~ Affidavit of Surety With Justification      Release Ng.
   2. ~ Unsecured Appearance Bond                               (Form CR-3) Signed by:                              ~1j`~
                                                                                                                      /t ~
            $                                                                                                  ~ Release to Pretrial ONLY

   3.~      Appearan

         $ ~~
                          and


     (a~.~ Cas~l Deposit (Amount or %~ (Farm CR-7)
                                                                                                                     Release to Probation ONLY
                                                                                                                     Forthwith Release

                                                                         With Full Deeding of Property:

     (b).      Affidavit ofSurety Without
         ~JuSt~ ~Cat1oR ~Form.CR-4~ SI      ed by:
                                                                                                                     All Conditions of Bond
                                                                                                                     (ExceptClearing-Warrants
                                                                                                                      Contition) Must be Met
                                                                                                                      and Posted by:



                                                                                                                     Third-Party Custody
                                                        4. ❑Collateral Bond in the Amount of(Cash                    Affidavit(Form CR-31)
                                                              or Negotiable Securities):
                                                                 $                                             ~ Bail Fixed by Court:
                                                        5.~ Corporate Surety Bond in the Amount of:             Sp              / kc
                                                             ~                                                     (Judge /Clerk's Initials)


                                                      PRECONDITIONS TO RELEASE
        The government has requested a Nebbia hearing under 18 U.S.C. § 3142(8)(4).

        The Court has ordered a Nebbia hearing under g 3142 (g)(4).

  0 The Nebbia hearing is set for                                         at          ❑ a.m. ❑ p.m.

                                                 ADDITIONAL CONDITIONS OF RELEASE
In ddition to the ENERAL CONDITIONS of RELEASE,the following conditions of release are imposed upon you:
    Submit to:         Pretrial Services Agency(PSA)supervision as directed by PSA; ~ Probation (USPO)supervision as directed by USPO.
                 ( he agency indicated above, PSA or USPO, will be referred to below as "SupervisingAgency.'~

    Surrender all passports and travel documents to Supervising Agency no later than                                           , sign a Declaration
     re Passport and Other Travel Documents(Form CR-37), and do not apply fob a,p~ssport ~ other travel document during the pendency

     of this case.                                                                ~l ~ ~Q/~1~i~'~7~G('C/'/ \J~
    Travel is restricted to     ~~ (~~~~~~~,~N                             / "/~w~A           unless prior permission is granted by Supervising

     Agency to travel to a specific other location. Court permission is required for international travel.

    Reside as approved by Supervising Agency and do not relocate without prior permission from Supervising Agency.

    Maintain or actively seek employment and provide proof to Supervising Agency. ~mployme t to be                proved by Supervising Agency.
    Maintain or begin an educational program and provide proof to Supervising Agency.                                                     .~~
                                                                                  Defendant's Ini 'al •                Date:
CR-1 (07/21)                             CENTRAL DISTRICT OF CALIFORNIA RELEASE ORDER AND BOND FORM                                    PAGE 1 OF 5
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    Case Name: United States of America v.                               ~~ rn                      Case No.~'~~~~~~~,~

                                                    Defendant      ~ Material Witn
       Avoid all contact, directly or indirectly (including by any electronic means), with any person who is a known victim or

        witness in the subject investigation or prosecution, ~ including but not limited to

                                                             ;~ except
       Avoid all contact, directly or indirectly (including by any electronic means), with any known codefendants except in the presence

        of counsel. Notwithstanding this provision, you may contact the following codefendants without your counsel present:


       Do not possess any firearms, ammunition, destructive devices, or other dangerous weapons. ~ In order to determine compliance,

        you agree to submit to a search of your person and/or property by Supervising Agency in conjunction with the U.S. Marshal.

       Do not use or possess any identification, mail matter, access device, or any identification-related material other than in your

        own legal or true name without prior permission from Supervising Agency. ~ In order to determine compliance, you agree

        to submit to a search of your person and/or property by Supervising Agency in conjunction with the U.S. Marshal.

       Do not engage in telemarketing.

       Do not sell, transfer, or give away any asset valued at $                                 or more without notifying and obtaining
       permission from the Court, except

       Do not engage in tax preparation for others.

       Do not use alcohol.

       Participate in the electronic remote alcohol monitoring program as directed by Supervising Agency and abide by all the rules and

       requirements of the program. You must pay all or part of the costs for treatment based upon your ability to pay as determined by

       Supervising Agenry.
       Do not use or possess illegal drugs or state-authorized marijuana.   ~ In order to determine compliance, you agree to
       submit to a search of your person and/or property by Supervising Agency in conjunction with the U.S. Marshal.

       Do not use for purposes of intoxication any controlled substance analogue as defined by federal law or street, synthetic, or

       designer psychoactive substance capable of impairing mental or physical functioning more than minunally, except as

       prescribed by a medical doctor.

      Submit to:      drug and/or0alcohol testing. If directed to do so, participate in outpatient treatment approved by Supervising Agency.

       You must pay all or part of the costs for testing and treatment based upon your ability to pay as determined by Supervising Agency.

      Participate in residential ~ drug and/or ~ alcohol treatment as directed by Supervising Agency. You must pay all or part of the costs

       of treatment based upon your ability to pay as determined by Supervising Agency. ~Release to PSA only ~ Release to USPO only

      Submit to a mental health evaluation. If directed to do so, participate in mental health counseling and/or treatment approved by

       Supervising Agency. You must pay all or part of the costs based upon your ability to pay as determined by Supervising Agency.
      Participate in the Location Monitoring Program marked below and abide by all of the requirements of the program and any indicated

      restrictions, under the direction of the Supervising Agency. You must pay all or part of the costs of the program based upon your ability

      to pay as determined by the Supervising Agency. You are financially responsible for any lost or damaged equipment.


      Location Monitoring Technology

            Location Monitoring technology at the discretion of the Supervising Agency


       or



                                                                                Defendant's                          Date:     .         I~
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                                                      Defendant     ~ Material Witness


              Location Monitoring with a bracelet

                   at the discretion of the Supervising Agency or

                  Radio Frequency(RF)or

                  Global Positioning System (GPS)

                  Release to the Supervising Agency only or       ~ Placement of bracelet within 24 hours of release
        or



              Location Monitoring without a bracelet


                  at the discretion of the Supervising Agency or

                  Virtual/Biometric or

                  Voice Recognition



       Restrictions


              Location Monitoring only - no residential restrictions


              Curfew -You are restricted to your residence every day:

                  from                    to

                  as directed by Supervising Agency

              Home Detention -You are restricted to your residence at all times except for employment, education, religious services, medical

              needs or treatment, attorney visits, court appearances and obligations, essential needs, and

              all of which must be preapproved by the Supervising Agency

              Home Incarceration -You are restricted to your residence at all times except for medical needs or treatment, attorney visits, court

              appearances and obligations, and                                       all of which must be preapproved by the Supervising Agency


       You are placed in the third-party custody(Form CR-31) of

       Clear outstanding        warrants or ~ DMV and traffic violations and provide proof to Supervising Agency within            Q days
       of release-from custody.

       Do not possess or have access to, in the home, the workplace, or any other location, any device that offers Internet access except

       as approved by Supervising Agency. ~ In order to determine compliance, you agree to submit to a search of your person

       and/or property by Supervising Agency in conjunction with the U.S. Marshal.

      Do not associate or have verbal, written, telephonic, electronic, or any other communication with any person who is less than

       the age of 18 except in the presence of a parent or legal guardian of the minor.

      Do not loiter or be found within 100 feet of any schoolyard, park, playground, arcade, or other place primarily used by children

       under the age of 18.

      Do not be employed by, affiliated with, own, control, or otherwise participate directly or indirectly 'n the operation of any daycare

       facility, school, or other organization dealing with the care, custody, or control of children un er     ge     18.     I
                                                                                   Defendant's Initi                   Date:
Cx-i (o~/2i                               c;~;N l'xAL ll1S'1'1t1C1' OF CALIFORNIA RELEASE ORDER AND BOND FORM                        PAGE 3 OF 5
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   Case Name: United States of America v.         I~✓v/ G(.      ~'~ ,y,U rn~~                         Case No. V = ~~— l,/l. ~.Z.~i~
                                                   Defendant      ~ Material Witness                                                               Q

       Do not view or possess child pornography or child erotica. ~ In order to determine compliance, you agree to submit to a search
       of your person and/or property, including computer hardware and software, by Supervising Agency in conjunction with the U.S.
       Marshal.
       Other conditions:        ~/~~~

                       nv~ v~/~\~ ~~




                                               GENERAL CONDITIONS OF RELEASE

  I will appear in person in accordance with any and all directions and orders relating to my appearance in the above entitled matter as
  maybe given or issued by the Court or any judicial officer thereof, in that Court or before any Magistrate Judge thereof, or in any other
  United States District Court to which I may be removed or to which the case maybe transferred.

  I will abide by any judgment entered in this matter by surrendering myself to serve any sentence imposed and will obey any order or
  direction in connection with such judgment as the Court may prescribe.

  I will immediately inform my counsel of any change in my contact information, including my residence address and telephone number,
  so that I may be reached at all times.

  I will not commit a federal, state, or local crime during the period of release

 I will not intimidate any witness, juror, or officer of the court or obstruct the criminal investigation in this case. Additionally, I will not
 tamper with, harass, or retaliate against,any alleged witness, victim, or informant in this case. I understand that if I do so, I may be
 subject to further prosecution under the applicable statutes.

 I will cooperate in the collection of a DNA sample under 42 U.S.C. g 14135a.




                                                                                    Defendant's                       Date:              `~
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                                                        Defendant       ~ Material Witness                                         ~~~


                                      ACKNOWLEDGMENT OF DEFENDANT/MATERIAL WITNESS

      As a condition of my release on this bond, pursuant to Title 18 of the United States Code, I have read or have had interpreted to me
      and understand the general conditions of release, the preconditions, and the additional conditions of release and agree to comply with
      all conditions of release imposed on me and to be bound by the provisions of Local Criminal Rule 46-6.

     Furthermore, it is agreed and understood that this is a continuing bond (including any proceeding on appeal or review) which will
     continue in full force and effect until such time as duly exonerated.

     I understand that violation of any of the general and/or additional conditions of release of this bond may result in a revocation of
     release, an order of detention, and a new prosecution for an additional offense which could result in a term ofimprisonment and/or
     fine.

     I further understand that if I fail to obey and perform any of the general and/or additional conditions of release of this bond, this bond
     maybe forfeited to the United States of America. If said forfeiture is not set aside,judgment may be summarily entered in this
     Court against me and each surety,jointly and severally, for the bond amount,together with interest and costs. Execution of the
     judgment maybe issued or payment secured as provided by the Federal Rules of Criminal Procedure and other laws of the
     United States, and any cash or real or personal property or th          teral previously posted in connection with this bond maybe
     forfeited.                                       /1




     Date
          1- ~ a~                           Si      r     efendant/Ma erial Witness
                                                                                      ~               ~~ ~5~ ~ - ~~c~~
                                                                                                        Telephone Number
                         O

                        V v
     City and State(DO NOTIN LUDE ZIP CODE)




         Check if interpreter is used: I have interpreted into the                                                 language this entire form
          and have been told by the defendant that he or she understands all of it.



     Interpreter's Signature                                                                          Date




     Approved:
                               United States District Judge /Magistrate Judge                         Date


     If cash deposited: Receipt #                               for $


    (This bond may require surety agreements and affidavits pursuant to Local Criminal Rule 46.)




                                                                                  Defendant's Init'                  Date:
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